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                 Abrams & Wofsy, Esqs.
                 255 Newark Avenue
                 Jersey City, New Jersey 07302
                 (201) 659-5500                                   UNifEI) STATES DISTRICT COURT
                                                                  DISTRICT OF NEW JERSEY
                                                                  CRIMINAL NO. 09-501 (SRC)
                 UNITEI) STATES OF AMERICA              :         CRIMiNAL NO. 09463 (SR.C)

                           vs.                                    ORDER

                 PETER VENTRICELLI,

                                 Defendant.


                        This matter being opened to the Court by Abrams & Wofay, Esqs., attorneys for

                 defendant, Peter Ventricelli, Andrew C. Abrams, Esq. appearing in the presence of the United

                 Stated attorney for the Disthct of New Jersey, Assistant United States Attorney Leslie Faye

                 Schwartz appearing, for an Order modifying the terms of the previous “Order Setting Conditions

                 of Release” dated November 19, 2009, specifically by changing the defendant’s classification of

                 “Home Confinement” and amending it to one of “Home Detention” so as to allow for this

                  defendant to be employed in a manner approved by the pretrial service office or supervising

                  officer, and the United States Attorney having no objections and good cause being shown;

                         IT IS on this                      day of August, 2010,

                         ORDERED that the November 19, 2009 “Order Setting Conditions of Release” be

                  modified to reflect a change in defendant Peter Ventricelli’s requirement of “Home

                  Incarceration” and amending It to a designation of “Hotne Detention” for said defendant; and

                         IT IS FURTHER ORDERED that the newly imposed “Home Detention” designation

                  shall require defendant, Peter Ventricdlli to be restricted to his residence at all times except for

                  employment, education; religious services; medical; substance abuse; or mental health treaunetil;

                  attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved

                  by the pretrial services office or supervising officer; and
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                                                                                                        with
                     JT iS FURTHER ORDERED that all other terms of release imposed in connection

              Crim. Nos. 09-501 and 09-863 shall remain in full force and effect.



                                                                      Stanley R. Cheslcr
                                                                 United States District Court Judge



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              of the wi     Order



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